Case 19-11372-btb Doc 15 Entered 03/26/19 23:38:51 Page 1 of 2

Fill in this information to identify your case:

named JoEL cRosBY SlNNoTT

 

 

 

 

First Name Midd|e Name Last Name
Debtor 2
(Spouse, if nling) First Name Middle Name Last Name
United States Bankruptcy Court for the: District of Nevada E
case number 19'11372'BTB El check if this is an
(|f known)

amended filing

 

Official Form 1060
Schedule C: The Property You Claim as Exempt 114/16

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Ofl”lcial Form 106A/B) as your source, list the property that you claim as exempt. lf more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

 

 

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions_such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds_may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

m identify the Property You Claim as Exempt

 

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

g You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
n You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption

 

 

 

 

 

Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption.
Schedule A/B
Brief . NRS 21 .090 (1)(f)
description: M $ 12,000.00 m $
Line from 100% of fair market value, up to
Schedule A/B_. 3.1 any applicable statutory limit
Brief `NRs 21 .090 (1)(b)
description: M $400.00 g $ `
- 100% of fair market value up to
L f 6 .
S|¢r;]:e¢;:rl: A/B_- any applicable statutory limit
Brief NRs 21 .090 (1)(b)
description: TV_ $500-00 cl $ `
Line from n 100% of fair market value, up to
Schedule A/B: Z any applicable statutory limit

 

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

MNo

n Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

n No
El Yes

Official Form 1060 Schedule C: The Property You Claim as Exempt page 1 of _

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JOEL cRosBY slNNoTT ease number me", 19-1 1372-BTB

Middle Name Last Name

Debtor 1

 

 

First Name

m Additional Page

Brief description of the property and line
on Schedule A/B that lists this property

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

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Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Official Form 1060

Current value of the
portion you own

Amount of the exemption you claim Specific laws that allow exemption
Check only one box for each exemption

NRs 21 .090 (1)(b)

 

B 100% of fair market value, up to
any applicable statutory limit

 

NRs 21 .090(1)(b)

 

 

g 100% of fair market value, up to
any applicable statutory limit

 

NRs 21 .090 (1)(a)

 

g 100% of fair market value, up to
any applicable statutory limit

 

NRs 21 .090 (1)(z)

 

g 100% of fair market value, up to
any applicable statutory limit

 

NRS 21 .090 (1)(b)

 

g 100% affair market value, up to
any applicable statutory limit

 

NRS 21 .090 (1)(b)

 

g 100% of fair market value, up to
any applicable statutory limit

 

 

El 100% of fair market value, up to
any applicable statutory limit

 

 

El 100% of fair market value, up to
any applicable statutory limit

 

 

 

El 100% of fair market value, up to
any applicable statutory limit

 

 

El 100% of fair market value, up to
any applicable statutory limit

 

 

|:l 100% of fair market value, up to
any applicable statutory limit

 

Copy the value from
Schedule A/B
Bowflex $ 500.00 E| $
9
Clothes $ 500.00 El $
11
wedding ring $ 800.00 g $
12
4 dogs $ 200.00 g $
13
Office equipment $ 1,000.00 g $
39
hand tools $ 500.00 g $
L
$ El $
$ El $
$ El $
$ El $
$ El $
$ El $

 

Schedule C: The Property You Claim as Exempt

El 100% affair market value, up to
any applicable statutory limit

 

page 2_ of_

